






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00040-CR







Paula Jean Todd, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 58693, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



In December 2005, appellant Paula Jean Todd pleaded guilty to forgery and was
sentenced to two years in state jail, but sentence was not imposed and she was placed on community
supervision for five years.  See Tex. Penal Code Ann. § 32.21 (West Supp. 2008).  In December
2008, after appellant pleaded true to the allegations in the State's motion to revoke, the trial court
revoked supervision and imposed a fifteen-month state jail sentence.

Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738 (1967), by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488&nbsp;U.S.&nbsp;75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v.&nbsp;State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of her right to examine the appellate record and to file a pro se brief.  No pro
se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The order revoking community supervision is affirmed.



				___________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Pemberton

Affirmed

Filed:   August 26, 2009

Do Not Publish


